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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
In re: Application Pursuant to 28 U.S.C. § 1782 )
                                                )
of THE REPUBLIC OF THE GAMBIA,
                                                )
                                                )
                          Petitioner,           )
                                                )
          - to take discovery of -              )
                                                )        No. 1:20-mc-0028-JDB
                                                )
                                                )
TWITTER, INC.,                                  )
                                                )
                                                )
                       Respondent.              )


       NOTICE OF WITHDRAWAL OF APPLICATION FOR ORDER TO TAKE
                 DISCOVERY PURSUANT TO 28 U.S.C. § 1782

       Please take notice that Petitioner the Republic of The Gambia hereby respectfully

withdraws its application for an order pursuant to 28 U.S.C. § 1782 to allow it to issue subpoenas

pursuant to Federal Rules of Civil Procedure 26, 30, 34 and 45 directing Twitter, Inc. to produce

documents and submit to a deposition for use in connection with an action brought by the

Republic of The Gambia against the Republic of the Union of Myanmar in the International

Court of Justice in The Hague, The Netherlands.




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Dated: May 18, 2020                 Respectfully submitted,

                                    THE REPUBLIC OF THE GAMBIA

                                    By its attorneys,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2020, I caused a true and correct copy of foregoing to be

sent via Federal Express, overnight delivery, to the following addresses:



Ms. Vijaya Gadde                                  Twitter, Inc.
General Counsel                                   800 Connecticut Avenue, NW
Twitter, Inc.                                     Suite 500
1355 Market Street                                Washington, DC 20006
Suite 900
San Francisco, CA 94103




                                              /s/ Paul S. Reichler
                                              Paul S. Reichler




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